                        IN THE UNITED STATES DISTRICT COURT FOR THE
                                WESTERN DISTRICT OF MISSOURI
                                     SOUTHERN DIVISION

UNITED STATES OF AMERICA,                                 )
                                                          )
           Plaintiff,                                     )
                                                          )
           v.                                             )            No. 13-03041-01/02-CR-S-DGK
                                                          )
BRUCE CONANT and                                          )
RENDY CONANT,                                             )
                                                          )
           Defendants.                                    )

                                                     ORDER

           Pending before the Court are: Defendant Bruce Conant’s “Motion to Quash the Search

Warrant for Storage Unit 33 at 210 Clough Avenue, Lebanon, MO. and to Suppress Evidence

Seized Pursuant to a Search of Said Storage Unit” (Doc. 46) and “Motion to Suppress as

Evidence All Items Seized Pursuant to Execution of a Search Warrant at Defendant’s Residence

on July 16, 2012” (Doc. 47); Defendant Rendy Conant’s “Amended Motion to Quash Three

Search Warrants, Suppress the Evidence Seized as a Result of the Search Warrants and to Return

to the Defendant Property Seized as a Result of Execution of Search Warrants” (Doc. 52);1 the

Government’s response (Doc. 55); Defendants’ replies (Docs. 63 & 65); United States

Magistrate Judge Robert E. Larsen’s Reports and Recommendations (Docs. 77 & 78) and

Supplemental Report & Recommendation (Doc. 85) (collectively the “Reports and

Recommendations”), recommending that the Court deny the suppression motions; and the

Defendants’ objections to the Reports and Recommendations (Docs. 80, 81, 82, 96, & 100).

Also pending before the Court is Defendant Rendy Conant’s “Motion that the District Court Rule

on Her Motion for a Franks Hearing, Supplemental Motion for a Franks Hearing and

1
    Defendant Rendy Conant’s original motion to quash (Doc. 39) is denied as moot.




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Defendant’s Motion to Supplement Motion Denied by the Magistrate Judge without the District

Court” (Doc. 95), which the Court construes as a renewed motion for a Franks hearing.

        After carefully reviewing the Reports and Recommendations and conducting an

independent review of the entire record and applicable law, it is hereby ORDERED that Judge

Larsen’s Reports and Recommendations are ADOPTED. Accordingly, Defendants’ motions to

suppress (Docs. 46, 47, & 52) are DENIED. Finally, Defendant Rendy Conant’s renewed

motion for a Franks hearing (Doc. 95) is DENIED for the reasons articulated in Judge Larsen’s

order dated February 28, 2014 (Doc. 83).2

        IT IS SO ORDERED.

Date: April 8, 2014                                      /s/ Greg Kays
                                                        GREG KAYS, CHIEF JUDGE
                                                        UNITED STATES DISTRICT COURT




2
  In so holding, the Court also relied upon the findings of fact and conclusions of law in the Reports and
Recommendations (Docs. 77, 78, & 85) to the extent that they either explicitly or implicitly addressed the alleged
Franks violation.


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